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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

               v.
                                                        Crim. No. 17-232 (EGS)
 MICHAEL T. FLYNN,

                           Defendant


                     NOTICE OF DISCOVERY CORRESPONDENCE

        The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, hereby files with the Court its most recent discovery correspondence in

this case.


                                                    Respectfully submitted,

                                                    TIMOTHY J. SHEA
                                                    United States Attorney
                                                    D.C. Bar 437437

                                                    By: /s/ Jocelyn Ballantine
                                                    Jocelyn Ballantine
                                                    Assistant United States Attorney
                                                    555 4th Street NW
                                                    Washington, D.C. 20530

Dated: May 5, 2020
Enclosure
        Case 1:17-cr-00232-EGS Document 193-1 Filed 05/05/20 Page 1 of 1




                                                       U.S. Department of Justice

                                                       Timothy J. Shea
                                                       United States Attorney

                                                       District of Columbia


                                                       Judiciary Center
                                                       555 Fourth St., N.W.
                                                       Washington, D.C. 20530


                                                      May 5, 2020
Via Email
Sidney Powell
2911 Turtle Creek Blvd., Suite 300
Dallas, TX 75219
Jesse Binnall
Harvey & Binnall, PLLC
717 King Street
Suite 300
Alexandria, VA 22314
                Re:   United States v. Michael T. Flynn, 17-cr-00232 (EGS)
Dear Counsel:
        As we disclosed by letter dated April 24, 2020, beginning in January 2020, at the
direction of Attorney General William P. Barr, the United States Attorney for the Eastern District
of Missouri (“USA EDMO”) has been conducting a review of the Michael T. Flynn
investigation. The enclosed documents were obtained and analyzed by USA EDMO in March,
April and May 2020; additional documents may be forthcoming. These materials are covered by
the Protective Order entered by the Court on February 21, 2018.
                                                      Sincerely,
                                                     TIMOTHY J. SHEA
                                                     United States Attorney
                                                 By:       /s/
                                                     Jocelyn Ballantine
                                                     Assistant United States Attorney

Enclosures
